                                                  Case 6:21-bk-00221-TPG         FORM 1
                                                                                 Doc 118   Filed 04/21/22                   Page 1 of 7                  Page No:    1
                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                              ASSET CASES

Case No.:                    21-00221                                                                                         Trustee Name:                           Arvind Mahendru
Case Name:                   2751 MARSH WREN CIRCLE LLC                                                                       Date Filed (f) or Converted (c):        01/20/2021 (f)
For the Period Ending:       03/31/2022                                                                                       §341(a) Meeting Date:                   03/02/2021
                                                                                                                              Claims Bar Date:                        05/10/2021
                                1                                    2                      3                           4                        5                                        6

                     Asset Description                            Petition/        Estimated Net Value               Property              Sales/Funds              Asset Fully Administered (FA)/
                      (Scheduled and                            Unscheduled       (Value Determined by               Abandoned             Received by              Gross Value of Remaining Assets
                 Unscheduled (u) Property)                         Value                 Trustee,              OA =§ 554(a) abandon.        the Estate
                                                                                 Less Liens, Exemptions,
                                                                                    and Other Costs)

Ref. #
1        LOT 19, WINGFIELD NORTH, ACCORDING                      $1,413,272.00                   $39,377.30                                   $1,250,000.00                                           FA
         TO THE PLAT THEREOF, AS RECORDED IN
         PLAT BOOK 26, PAGES 18 AND 19, PUBLIC
         RECORDS 2751 MARSH WREN CIRCLE,
         LONGWOOD FLORIDA , SEMINOLE
         COUNTY 32779
2        Non-Ad Valorem Taxes from 8/12/2021 to        (u)           Unknown                          $32.19                                          $32.19                                          FA
         9/30/2021
3        HOA Assessments (2nd Semi-Annual) from        (u)           Unknown                       $1,138.32                                           $0.00                                          FA
         8/12/2021 to
         12/31/2021


TOTALS (Excluding unknown value)                                                                                                                                         Gross Value of Remaining Assets
                                                                $1,413,272.00                     $40,547.81                                  $1,250,032.19                                       $0.00



Major Activities affecting case closing:
                                                      Case 6:21-bk-00221-TPG            FORM 1
                                                                                        Doc 118   Filed 04/21/22                                  Page 2 of 7                  Page No:      2
                                                                    INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                     ASSET CASES

Case No.:                    21-00221                                                                                                               Trustee Name:                            Arvind Mahendru
Case Name:                   2751 MARSH WREN CIRCLE LLC                                                                                             Date Filed (f) or Converted (c):         01/20/2021 (f)
For the Period Ending:       03/31/2022                                                                                                             §341(a) Meeting Date:                    03/02/2021
                                                                                                                                                    Claims Bar Date:                         05/10/2021
                                 1                                              2                              3                              4                        5                                        6

                     Asset Description                                      Petition/                Estimated Net Value                 Property                Sales/Funds              Asset Fully Administered (FA)/
                      (Scheduled and                                      Unscheduled               (Value Determined by                 Abandoned               Received by              Gross Value of Remaining Assets
                 Unscheduled (u) Property)                                   Value                         Trustee,                OA =§ 554(a) abandon.          the Estate
                                                                                                   Less Liens, Exemptions,
                                                                                                      and Other Costs)

 06/10/2021    Asset #1-2751 Marsh Wren Circle, Longwood, FL 32779
               2/2/21-Application to Employ Maria Spinos as real estate agent
               2/5/21- Notice of Assets
               2/5/21-Application to Employ Arvind Mahendru as Attorney Nunc Pro Tunc
               2/5/21-Motion for Turnover of Property - specifically: 2751 Marsh Wren Circle
               2/6/21-Motion to Reject Lease
               2/9/21-Amended Motion for Turnover of Property - specifically: 2751 Marsh Wren Circle
               2/10/21-Order Approving Application to Employ/Retain Arvind Mahendru as Attorney for Trustee Nunc Pro Tunc to 2/5/21
               2/10/21-Order Approving Application to Employ/Retain Maria Spinos as Real Estate Agent
               3/2/21-Second Amended Motion for Turnover of Property - specifically: 2751 Marsh Wren Circle and financial documents
               3/4/21-Third Amended Motion for Turnover of Property - specifically: 2751 Marsh Wren Circle
               3/5/21-Affidavit re real estate agent
               3/11/21-Application to Employ Ryan Davis and the Law Firm of Winderweedle, Haines, Ward & Woodman, P.A. as Special Counsel
               3/12/21-Order Granting Amended Motion To Reject Lease
               3/17/21-Order Granting Third Amended Motion for Turnover of Property of the Estate
               3/24/21-Order Approving Application to Employ/Retain Ryan E Davis and the Law Firm of Winderweedle, Haines, Ward & Woodman, P.A. as Special Counsel
               3/26/21-Agreed Order Granting Third Amended Motion for Turnover
               6/10/21-Motion to Sell Property Free and Clear of Liens. Property description: 2751 Marsh Wren Circle, Longwood, FL 32779
               6/10/21-Notice of Hearing on Motion to Sell Property Free and Clear of Liens Filed by Arvind Mahendru on behalf of Trustee Arvind Mahendru (related document(s)64). Hearing
               scheduled for 7/14/2021
               7/12/21-Amended Motion to Sell Property Free and Clear of Liens. Property description: 2751 Marsh Wren Circle, Longwood, FL 32779
               7/21/21-Order Granting Amended Motion To Sell Property Free and Clear of Liens (Related Doc 70).
               7/28/21-Order Overruling Objection to Chapter 7 Trustee's Amended Notice and Motion for Sale of Property, Denying Emergency Motion for Reconsideration, and Setting Status
               Conference (related document(s)76, 74).
               7/28/21-Motion For Contempt Against Rachel and Craig Meixsell
               7/30/21-Notice of Preliminary Hearing on Motion for Order Finding the Meixsell Family in Indirect Civil Contempt of Court
               8/11/21-Order Granting Motion For Contempt Against the Meixsell Family in Indirect Civil Contempt of Court (Related Doc # 86)
               8/26/21-Motion for Award of Damages
               10/12/21-Notice of Filing Supplemental Fee Detail
               10/19/21-Order Granting in Part and Denying in Part Motion for Award of Damages (Related Doc # 98).
               11/4/21-Affidavit of Default
               11/12/21-Final Judgment in Favor of Trustee Arvind Mahendru Amount Awarded: 31993.75 (related document(s)98, 107)
               2/11/22- discuss case status with special counsel
               4/14/22-Trustee's Report of Sale 2751 Marsh Wren Circle, Longwood, FL 32779
                                                Case 6:21-bk-00221-TPG           FORM 1
                                                                                 Doc 118   Filed 04/21/22                         Page 3 of 7                  Page No:    3
                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                              ASSET CASES

Case No.:                    21-00221                                                                                               Trustee Name:                           Arvind Mahendru
Case Name:                   2751 MARSH WREN CIRCLE LLC                                                                             Date Filed (f) or Converted (c):        01/20/2021 (f)
For the Period Ending:        03/31/2022                                                                                            §341(a) Meeting Date:                   03/02/2021
                                                                                                                                    Claims Bar Date:                        05/10/2021
                                 1                                   2                            3                           4                        5                                        6

                     Asset Description                            Petition/              Estimated Net Value               Property              Sales/Funds              Asset Fully Administered (FA)/
                      (Scheduled and                            Unscheduled             (Value Determined by               Abandoned             Received by              Gross Value of Remaining Assets
                 Unscheduled (u) Property)                         Value                       Trustee,              OA =§ 554(a) abandon.        the Estate
                                                                                       Less Liens, Exemptions,
                                                                                          and Other Costs)


Initial Projected Date Of Final Report (TFR):   10/31/2021                    Current Projected Date Of Final Report (TFR):       05/31/2022               /s/ ARVIND MAHENDRU
                                                                                                                                                           ARVIND MAHENDRU
                                                Case 6:21-bk-00221-TPG           Doc 118              Filed 04/21/22        Page 4 of 7
                                                                                FORM 2                                                                       Page No: 1
                                                          CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                     21-00221                                                                                       Trustee Name:                       Arvind Mahendru
Case Name:                   2751 MARSH WREN CIRCLE LLC                                                                     Bank Name:                          Veritex Community Bank
Primary Taxpayer ID #:       **-***2972                                                                                     Checking Acct #:                    ******2101
Co-Debtor Taxpayer ID #:                                                                                                    Account Title:
For Period Beginning:        04/01/2021                                                                                     Blanket bond (per case limit):      $32,583,498.00
For Period Ending:           03/31/2022                                                                                     Separate bond (if applicable):


     1                2                   3                                                       4                                               5                   6                    7

Transaction      Check /                Paid to/                      Description of Transaction                             Uniform           Deposit          Disbursement             Balance
   Date           Ref. #             Received From                                                                          Tran Code            $                   $


08/23/2021                 THE PRINCIPAL LAW FIRM PL         7/12/21-Amended Motion to Sell Property Free and                    *             $34,000.00                 $0.00             $34,000.00
                                                             Clear of Liens. Property description: 2751 Marsh Wren
                                                             Circle, Longwood, FL 32779
                                                             7/21/21-Order Granting Amended Motion To Sell
                                                             Property Free and Clear of Liens (Related Doc 70).
                     {1}                                                                                  $1,250,000.00      1110-000                                                       $34,000.00
                                                             Owner's Coverage Premium to The                  ($5,700.00)    2500-000                                                       $34,000.00
                                                             Principal Law Firm, P.L.
                                                             County Taxes from 1/1/2021 to                    ($8,311.37)    2820-000                                                       $34,000.00
                                                             8/11/2021
                                                             Search Fee to WFG National Title                    ($85.00)    2500-000                                                       $34,000.00
                                                             Insurance Company
                                                             Settlement Fee to The Principal Law               ($595.00)     2500-000                                                       $34,000.00
                                                             Firm, P.L.
                                                             Real Estate Commission                         ($75,000.00)     3510-000                                                       $34,000.00
                                                             Deed State to Clerk of the Circuit               ($8,750.00)    2500-000                                                       $34,000.00
                                                             Court
                                                             Lender: 2nd Mortgage                           ($30,000.00)     4110-000                                                       $34,000.00
                                                             Lender: 1st Mortgage                         ($1,010,604.90)    4110-000                                                       $34,000.00
                                                             2018 Property Taxes to Seminole                ($17,786.53)     2820-000                                                       $34,000.00
                                                             County Tax Collector
                                                             2019 Property Taxes to Seminole                ($16,913.92)     2820-000                                                       $34,000.00
                                                             County Tax Collector
                                                             2020 Property Taxes to Seminole                ($15,233.44)     2820-000                                                       $34,000.00
                                                             County Tax Collector
                                                             Courier Fees to The Principal Law                 ($250.00)     2500-000                                                       $34,000.00
                                                             Firm
                                                             HOA - July 2021 to Wingfield North               ($1,475.00)    2500-000                                                       $34,000.00
                                                             HOA, Inc.

                                                                                                                            SUBTOTALS           $34,000.00                $0.00
                                                         Case 6:21-bk-00221-TPG           Doc 118            Filed 04/21/22      Page 5 of 7
                                                                                         FORM 2                                                                     Page No: 2
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       21-00221                                                                                          Trustee Name:                         Arvind Mahendru
Case Name:                     2751 MARSH WREN CIRCLE LLC                                                                        Bank Name:                            Veritex Community Bank
Primary Taxpayer ID #:         **-***2972                                                                                        Checking Acct #:                      ******2101
Co-Debtor Taxpayer ID #:                                                                                                         Account Title:
For Period Beginning:          04/01/2021                                                                                        Blanket bond (per case limit):        $32,583,498.00
For Period Ending:             03/31/2022                                                                                        Separate bond (if applicable):


     1                2                         3                                                      4                                               5                     6                    7

Transaction      Check /                    Paid to/                          Description of Transaction                          Uniform           Deposit            Disbursement             Balance
   Date           Ref. #                 Received From                                                                           Tran Code            $                     $


                                                                      HOA Estoppel Fee to Specialty                 ($250.00)     2500-000                                                         $34,000.00
                                                                      Management
                                                                      HOA Past Due Amt to Wingfield               ($12,820.35)    2500-000                                                         $34,000.00
                                                                      North HOA, Inc.
                                                                      Municipal Lien Search                         ($145.00)     2500-000                                                         $34,000.00
                                                                      Certified Copy Fees (Reimbursement)             ($75.00)    2500-000                                                         $34,000.00
                                                                      to The Principal Law Firm,
                                                                      P.L.
                                                                      Escrow Holdback - Occupant                  ($13,000.00)    2500-000                                                         $34,000.00
                                                                      Expenses to The Principal Law Firm,
                                                                      P.L.
                                                                      Recording Fees - Certified Copies to          ($175.00)     2500-000                                                         $34,000.00
                                                                      Clerk of the Circuit Court
                     {2}                                              Non-Ad Valorem Taxes from                        $32.19     1290-000                                                         $34,000.00
                                                                      8/12/2021 to 9/30/2021
                                                                      HOA Assessments (2nd Semi-Annual)             $1,138.32     1290-000                                                         $34,000.00
                                                                      from 8/12/2021 to
                                                                      12/31/2021
08/31/2021                  Veritex Community Bank                    Bank Service Fee                                            2600-000                 $0.00                 $26.54            $33,973.46
09/30/2021                  Veritex Community Bank                    Bank Service Fee                                            2600-000                 $0.00                 $53.05            $33,920.41
10/29/2021                  Veritex Community Bank                    Bank Service Fee                                            2600-000                 $0.00                 $54.73            $33,865.68
11/30/2021                  Veritex Community Bank                    Bank Service Fee                                            2600-000                 $0.00                 $52.88            $33,812.80
12/31/2021                  Veritex Community Bank                    Bank Service Fee                                            2600-000                 $0.00                 $54.56            $33,758.24
01/31/2022                  Veritex Community Bank                    Bank Service Fee                                            2600-000                 $0.00                 $54.47            $33,703.77
02/08/2022           1001   International Sureties LTD                Bond Payment                                                2300-000                 $0.00                 $16.76            $33,687.01
02/28/2022                  Veritex Community Bank                    Bank Service Fee                                            2600-000                 $0.00                 $49.11            $33,637.90
03/31/2022                  Veritex Community Bank                    Bank Service Fee                                            2600-000                 $0.00                 $54.28            $33,583.62



                                                                                                                                 SUBTOTALS                  $0.00                $416.38
                                                         Case 6:21-bk-00221-TPG         Doc 118            Filed 04/21/22           Page 6 of 7
                                                                                       FORM 2                                                                           Page No: 3
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        21-00221                                                                                           Trustee Name:                           Arvind Mahendru
Case Name:                      2751 MARSH WREN CIRCLE LLC                                                                         Bank Name:                              Veritex Community Bank
Primary Taxpayer ID #:          **-***2972                                                                                         Checking Acct #:                        ******2101
Co-Debtor Taxpayer ID #:                                                                                                           Account Title:
For Period Beginning:           04/01/2021                                                                                         Blanket bond (per case limit):          $32,583,498.00
For Period Ending:              03/31/2022                                                                                         Separate bond (if applicable):


    1                2                          3                                                     4                                                    5                     6                    7

Transaction      Check /                     Paid to/                         Description of Transaction                             Uniform          Deposit              Disbursement             Balance
   Date           Ref. #                  Received From                                                                             Tran Code           $                       $



                                                                                        TOTALS:                                                            $34,000.00                $416.38              $33,583.62
                                                                                            Less: Bank transfers/CDs                                            $0.00                  $0.00
                                                                                        Subtotal                                                           $34,000.00                $416.38
                                                                                            Less: Payments to debtors                                           $0.00                  $0.00
                                                                                        Net                                                                $34,000.00                $416.38




                     For the period of 04/01/2021 to 03/31/2022                                                   For the entire history of the account between 07/13/2021 to 3/31/2022

                     Total Compensable Receipts:                     $1,251,170.51                                Total Compensable Receipts:                                $1,251,170.51
                     Total Non-Compensable Receipts:                         $0.00                                Total Non-Compensable Receipts:                                    $0.00
                     Total Comp/Non Comp Receipts:                   $1,251,170.51                                Total Comp/Non Comp Receipts:                              $1,251,170.51
                     Total Internal/Transfer Receipts:                       $0.00                                Total Internal/Transfer Receipts:                                  $0.00


                     Total Compensable Disbursements:                $1,217,586.89                                Total Compensable Disbursements:                           $1,217,586.89
                     Total Non-Compensable Disbursements:                    $0.00                                Total Non-Compensable Disbursements:                               $0.00
                     Total Comp/Non Comp Disbursements:              $1,217,586.89                                Total Comp/Non Comp Disbursements:                         $1,217,586.89
                     Total Internal/Transfer Disbursements:                  $0.00                                Total Internal/Transfer Disbursements:                             $0.00
                                                         Case 6:21-bk-00221-TPG         Doc 118            Filed 04/21/22         Page 7 of 7
                                                                                       FORM 2                                                                     Page No: 4
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        21-00221                                                                                         Trustee Name:                        Arvind Mahendru
Case Name:                      2751 MARSH WREN CIRCLE LLC                                                                       Bank Name:                           Veritex Community Bank
Primary Taxpayer ID #:           **-***2972                                                                                      Checking Acct #:                     ******2101
Co-Debtor Taxpayer ID #:                                                                                                         Account Title:
For Period Beginning:           04/01/2021                                                                                       Blanket bond (per case limit):       $32,583,498.00
For Period Ending:              03/31/2022                                                                                       Separate bond (if applicable):


    1                2                           3                                                    4                                                  5                  6                    7

Transaction      Check /                     Paid to/                         Description of Transaction                           Uniform           Deposit          Disbursement             Balance
   Date           Ref. #                  Received From                                                                           Tran Code            $                   $



                                                                                                                                                                                NET               ACCOUNT
                                                                                       TOTAL - ALL ACCOUNTS                                 NET DEPOSITS                   DISBURSE              BALANCES

                                                                                                                                                     $34,000.00                 $416.38           $33,583.62




                     For the period of 04/01/2021 to 03/31/2022                                                 For the entire history of the account between 07/13/2021 to 3/31/2022

                     Total Compensable Receipts:                    $1,251,170.51                               Total Compensable Receipts:                            $1,251,170.51
                     Total Non-Compensable Receipts:                        $0.00                               Total Non-Compensable Receipts:                                $0.00
                     Total Comp/Non Comp Receipts:                  $1,251,170.51                               Total Comp/Non Comp Receipts:                          $1,251,170.51
                     Total Internal/Transfer Receipts:                      $0.00                               Total Internal/Transfer Receipts:                              $0.00


                     Total Compensable Disbursements:               $1,217,586.89                               Total Compensable Disbursements:                       $1,217,586.89
                     Total Non-Compensable Disbursements:                   $0.00                               Total Non-Compensable Disbursements:                           $0.00
                     Total Comp/Non Comp Disbursements:             $1,217,586.89                               Total Comp/Non Comp Disbursements:                     $1,217,586.89
                     Total Internal/Transfer Disbursements:                 $0.00                               Total Internal/Transfer Disbursements:                         $0.00




                                                                                                                                                  /s/ ARVIND MAHENDRU
                                                                                                                                                  ARVIND MAHENDRU
